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              Exhibit 3
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from: Draft2Digital Support <support@draft2digital.com> via freshdesk.com
reply-to:Draft2Digital Support <support@draft2digital.com>

date: Tue, May 15, 2018 at 7:46 PM
subject: Re: [#115909] DMCA Take Down Notice sent on Title: Crave To Claim (Myth of Omega, #3)

Hello,

We've been contacted by the author Addison Cain regarding an infringement on her titles. I will include
the DMCA Take Down Notice, in it's entirety, for you to review.
Draft2Digital does not involve ourselves in 3rd party disputes and we encourage you to reach out to
this author directly to work towards a mutually satisfactory resolution.

Until such time as this issue can be resolved, this title will be delisted from publishing.

Best Regards,

Tara
Director of Operations
Draft2Digital


We are sending this email as an official DMCA for the following book:

Crave to Claim 2940155361534 - Myth of Omega – Book 3 author – Zoey Ellis

It has been brought to our attention that the book in question (listed above) are in violation of two books
that we have published and are under copyright. That book is:

Reborn - Addison Cain- Alpha's Claim book 3 2940157039561



Reborn was submitted to us in August of 2016 and published September 2016. We have documentation of the
formal submissions and contracts with this author for this book.

The first two books in this series have already been taken down for copyright violation and this is book three
which is the remaining book of the series which concludes the with plot and story arc that was stolen in book
one and two from Addison Cain.

As you can see by this date Addison Cain’s book was published almost two years BEFORE Zoey Ellis
books. We would like Zoe Ellis’s two books taken down immediately!

I am including a list of all of the similarities in plot, and actions that take place between the hero and the
heroine. There are certain scenes in the book that are almost identical to Addison’s book. The only thing
different is the POV has changed from female to male. She has taken Addison’s sentences and paraphrased
them and written a book of her ‘own.’ I am including some of these sections as well. I am also including
reviews, which state that the books by Zoey Ellis are very similar to Addison Cain’s books and feel like a
‘knock off.’

Our author – Addison is also being harassed in private messages and has been asked by another author, on
behalf of Zoe Ellis to make a public statement stating that Zoe’s books were not a knock off of her own.

SENTENCES/LINE COMPARISON (There are more but I am only including a few.)
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BtBB - The villain who had the audacity to call himself 'The Shepherd' was massive, the largest Alpha she had
ever seen.

CtC - He was the largest Alpha known in the Eastern Lands, and while it was a petty reaction for him to have,
he found it bothered something innate within him.

BtBB - Sucking in a ragged breath, swaying as if her legs could not decide which way to run, Claire whispered
under her breath, "No... no, no, this can't be happening."

CtC - "No," Cailyn whispered, taking a step back. "No. It can't..."

BtBB - That urge—the one she had fought her whole life—was making her tremble and prepare to flee, but
there was already a commotion all around.

CtC - Cailyn glanced around wildly as she backed away, her whole body tensed and poised to bolt.

BtBB - In an instant, an arm as thick as a tree trunk came around her middle, and she was carted off, hanging
doubled over, by the swaggering pace of a man staking claim... of the victor of the battle.

CtC - Something snapped in Drocco. He swept forward and lifted Cailyn, throwing her over his shoulder
before storming out of the Great Hall.

BtBB - Lowered to the floor, her body convulsed in another cramp, drawing out the female's pained groan.
She wanted—no, needed—to press her hands between her legs.

CtC - She bent over, pressing her hands between her legs, and groaned.

BtBB - Omegas had become exceptionally rare since the plagues and the following Reformation Wars a
century prior. That made them a valuable commodity which Alphas in power took as if it was their due.

CtC - "The Omegas were dying," she said, bitterly. ... "The Omegas were dying at unnatural rates before their
disappearance." [page 43] "There was a serious decline in Omegas from first count to the last. There were too
many deaths for it to be a natural occurance."



PLOT SIMILARITIES

BTBB: Protagonist is leader of a violent army that has taken over a city. His men follow without question.
CtC: Protagonist is leader of a violent army that has taken over a city. His men follow without question.

BTBB: Omegas are dying off from attacks by Alphas. They go into hiding to survive.
CtC: Omegas are dying off from attacks by Alphas. They go into hiding to survive.

BTBB: Main protagonist is searching for the missing Omegas to give them to his soldiers.
CtC: Main protagonist is searching for the missing Omegas to give them to his soldiers.

BTBB: Protagonist has Beta confidant as second in command. It is the only Beta in the army.
CtC: Protagonist has Beta confidant as second in command. It is the only Beta in the army.

BTBB: Claire (an Omega) approaches protagonist disguised as a Beta in order to help the Omegas.
CtC: Cailyn (an Omega) approaches protagonist disguised as a Beta in order to help the Omegas.

BTBB: Claire suppresses her scent and estrous by use of drugs so that she can pass for a Beta.
CtC: Cailyn suppresses her scent and haze by use of magic so that she can pass for a Beta.
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BTBB: Claire’s drugs fail in a room full of Alpha males. All Alphas who smell her enter a rut. A fight breaks
out. Protagonist fights off potential suitors and steals her away.
CtC: Cailyn’s magic fails in a room full of Alpha males. All Alphas who smell her enter a rut. A fight breaks
out. Protagonist fights off potential suitors and steals her away.

BTBB: Alpha undresses before Omega. "You are fighting your cycle."
CtC: Alpha undresses before Omega. “You fight your instincts.”

BTBB: Omega fights instincts to refuse Alpha’s advances. Fails.
CtC: Omega fights instincts to refuse Alpha’s advances. Fails.

BTBB: Omega is mindless in her estrous. Has no free will to reject Alpha.
CtC: Omega is mindless in her haze. Has no free will to reject Alpha.

BTBB: Shepherd takes advantage of the situation to make the Omega his mate.
CtC: Drocco takes advantage of the situation to make the Omega his mate.

BTBB: Claire enters a depression one her estrous has ended. She does not want to be mated to
Shepherd. Protagonist does not understand why she refuses to behave as an Omega and adore him. He
forces her to comply with her nature despite her personal feelings.
CtC: Cailyn enters a depression one her estrous has ended. She does not want to be mated to Drocco.
Protagonist does not understand why she refuses to behave as an Omega and adore him. He forces her
to comply with her nature despite her personal feelings.

BTBB: Shepherd does not understand why Claire does not act like an obedient Omega.
CtC: Drocco does not understand why Cailyn does not act like an obedient Omega.

BTBB: Protagonist locks Omega away in his room so that she cannot escape.
CtCa: Protagonist locks Omega away in his room so that she cannot escape.

BTBB: Protagonist is obsessed with his Omega. Demands she obey despite her vocal rejection of the
match.
CtC: Protagonist is obsessed with his Omega. Demands she obey despite her vocal rejection of the
match.

BTBB: Alpha is given unwanted advice from Beta second in command.
CtC: Alpha is given unwanted advice from Beta second in command.

BTBB: Protagonist uses information unwillingly gathered from his Omega to hunt missing Omegas.
CtC: Protagonist uses information unwillingly gathered from his Omega to hunt missing Omegas.

BTBB: Instead of asking Claire why she is unhappy, Protagonist seeks to manipulate her feelings using
outside help.
CtC: Instead of asking Cailyn why she is unhappy, Protagonist seeks to manipulate her feelings using
outside help.

BTBB: The Omega falls into a deeper depression and desires to die. Worries constantly about missing
Omegas.

CtC: The Omega falls into a deeper depression and desires to die. Worries constantly about missing
Omegas.
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BTBB: Omega goes on hunger strike.

CtC: Omega stops eating.



BTBB: Protagonist is unwilling to change world view, even if it would make the Omega happy.

CtC: Protagonist is unwilling to change world view, even if it would make the Omega happy.



BTBB: Once contacted, the other hidden Omegas betray Claire.

CtC: Once contacted, the other hidden Omegas betray Cailyn.



BTBB: Omega begins to develop Stockholm syndrome, questions her reactions and is confused.

CtC: Omega begins to develop Stockholm syndrome, questions her reactions and is confused.



BTBB: Protagonist tries to make Claire jealous. This in turn breaks her spirit.

CtC: Protagonist tries to make Cailyn jealous. This in turn breaks her spirit.



BTBB: Claire escapes at first opportunity, jumping off a balcony, escapes into city leaving book on
cliffhanger.

CtC: Cailyn escapes at first opportunity, floating off a balcony, escapes into city leaving book on
cliffhanger.




REVIEWS FROM AMAZON THAT MENTION SIMILARITIES

By             on February 15, 2018
Format: Kindle EditionVerified Purchase
It reminds me of Addison Cain's series about Alphas and Omegas.

By                   on February 11, 2018
Format: Kindle EditionVerified Purchase
Loved this new series but very close to Addison Cain’s Alpha story line - could be a coincidence

By             April 3, 2018
Format: Kindle EditionVerified Purchase
This book is VERY much like Addison Caine’s book. I would consider it well written if I hadn’t already
read Addison’s book “Alpha’s Claim”. Hopefully Zoey Ellis simply admires Addison’s work and the story
has just accidentally carried over into Zoey’s story.

By           on April 10, 2018
Format: Kindle EditionVerified Purchase
It’s ok, cheap writing version of Addison Cain’s Alphs series, will buy book 2
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By             on March 24, 2018
Format: Kindle EditionVerified Purchase
Don't get me wrong - I enjoyed this book, but in some aspects it's a little too close to Addison Cain's book.
To some degree, building on an alpha-omega world with only minor reinvention is OK - you see that a lot
in PNR worlds. But the character conflicts are really similar - an alpha who wants to take over the world
(although the underlying motivation differs), an omega who wants to save her fellow omegas from badly
behaved alphas, and a bond that ties them together, much to the heroine's dismay. The setting was
different, and well drawn out - somewhat like GoT. If you enjoyed AC's series, you will enjoy this.

By           March 26, 2018
Format: Kindle EditionVerified Purchase
This story was good but Addison Cain wrote it better in Born to be Bound. This is almost the exact same
story only the names are different.
Even has the same ending with heroine escaping at end of the book. You should be ashamed of yourself
Zoe Ellis...i want my money back!

By r               on February 18, 2018
Format: Kindle EditionVerified Purchase
I want to believe that this author didn't intentionally bite off Addison Cairns Omega verse stories, but the
similarities are uncanny. I am still debating on whether to purchase the next book in the series.

               days agoIn reply to an earlier post
Addison Cain's book felt new - this series feels like it is inhabiting her world. Not sure if that is a good or
bad thing - authors helping other authors build out space is what happens in sci-fi and PNR. It felt to me
like she was robbing Addison Cain so she got her world building for free. So therefore, unoriginal.

By                  March 24, 2018
Format: Kindle EditionVerified Purchase
I read this back to back with the first book. This was fairly slow moving compared to the first read. It got
bogged down in Cailynn's self-righteous angst a few too many times. Having said that, the author did a
great job evolving Drocco's character to one with more empathy. Cailynn needed to give in and trust the
bond a little sooner and her depression was a slog to read through. The pacing did pick up in the last 3rd
of the book. It also remained strongly reminiscent of Alpha's Control



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